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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10      DONALD E. MORISKY,
                                                             CASE NO. 2:21-CV-1301-RSM-DWC
11                             Plaintiff,
                 v.                                          ORDER STRIKING FILINGS AND
12                                                           SETTING STATUS CONFERENCE
        MMAS RESEARCH LLC, et al.,
13
                               Defendants.
14

15          Before the Court are Defendants’ Motion to Lift Stay (Dkt. 222), Plaintiff’s Status Report

16   (Dkt. 223), and Defendants’ Status Report (Dkt. 224). After consideration of the relevant record,

17   the Court strikes Defendants’ Motion to Lift Stay and Defendants’ Status Report (Dkts. 222,

18   224) and sets a status conference to take place on April 24, 2024 at 10:30 A.M. before the

19   undersigned, via Zoom.

20          I.        Background

21          On January 11, 2024, the Court stayed this matter pending the outcome of MMAS

22   Research, LLC, et al. v. The Charité, et al., Case No. 23-55202 (9th Cir.). Dkt. 220. The parties

23   were directed to file a joint status report within fourteen (14) days of resolution of MMAS

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 1   Research, LLC, et al. v. The Charité, et al. Id. at 3. The Court also denied Defendants’ motion

 2   requesting leave to conduct additional discovery and stated, “[a]fter MMAS Research, LLC, et al.

 3   v. The Charité, et al. is resolved, the parties shall meet and confer regarding a new scheduling

 4   order, including a proposal on any additional discovery and file a new joint status report.” Id. at

 5   3-4. On March 19, 2024, Defendants filed the Motion to Lift Stay. Dkt. 222. Plaintiff and

 6   Defendants filed Status Reports on March 27, 2024. Dkts. 223, 224.

 7          II.     Motion to Lift Stay (Dkt. 222)

 8          In the Court’s January 11, 2024 Order, the parties were directed to file a joint status

 9   report within fourteen days of resolution of the Ninth Circuit case. Dkt. 220. Rather than filing a

10   joint status report, Defendants filed the Motion to Lift the Stay. As the parties were directed to

11   file a joint status report, not a motion, the Motion to Lift the Stay (Dkt. 222) is stricken.

12          III.    Defendants’ Status Report (Dkt. 224)

13          On June 5, 2023, the Court determined Defendants submitted filings that were not in

14   compliance with the Local Civil Rules (LCR). See Dkt. 137. The Court directed the parties to

15   “ensure all future filings comply with the LCRs.” Id. The Court warned that if a filing did not

16   comply with the LCRs, the Court may strike the filing without further consideration. Id. On July

17   6, 2023 and September 25, 2023, the Court again struck Defendants’ filings because they did not

18   comply with the LRCs. See Dkts. 151, 184.

19          On March 27, 2024, Defendants filed a Status Report. Dkt. 224. Like multiple previous

20   filings, Defendants’ Status Report does not comply with the LCRs. For example, the Status

21   Report is not on numbered paper and does not include a bottom notation. See LCR 10. Moreover,

22   the Status Report was filed by Attorney Patricia Ray, who has been admitted pro hac vice. Id.;

23   see also Dkts. 100, 115. Under LCR 83.1(d)(2),

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 1           Unless waived by the court . . ., local counsel must review and sign all motions and other
             filings, ensure that all filings comply with all local rules of this court, and remind pro hac
 2           vice counsel of the court’s commitment to maintaining a high degree of professionalism and
             civility from the lawyers practicing before this court as set forth in the Introduction to the
 3           Civil Rules.

 4   It is unclear if Attorney Brett Harris, local counsel, reviewed the Status Report. Regardless, he

 5   did not sign it or ensure that it complied with the local rules of this Court.

 6             The Court warned the parties that future filings that do not comply with the LCRs may be

 7   stricken. Defendants have again submitted filings that contain the same deficiencies as

 8   previously noted by the Court and violate the pro hac vice rules. As Defendants’ Status Report

 9   does not comply with the LCRs, the Clerk is directed to strike Defendants’ Status Report (Dkt.

10   224).

11             The Court further warns Defendants’ counsel that failure to follow the Court’s LCRs and

12   maintain a high degree of professionalism may result in sanctions, including revocation of pro

13   hac vice status.

14             IV.    Status Conference

15             Plaintiff also filed a Status Report on March 27, 2024. Dkt. 223. In the Plaintiff’s Status

16   Report, Plaintiff indicates the parties do not agree on how the case should progress at this time.

17   Id. Plaintiff also notes that Defendants have failed to comply with the Court’s orders directing

18   Defendants and Defendants’ counsel to pay sanctions, which the Court ordered Defendants and

19   Defendants’ counsel to pay by January 19, 2024. Id.; see also Dkt. 220. Plaintiff requests a

20   conference with the Court to resolve outstanding issues before an amended scheduling order is

21   entered. The Court finds a status conference is appropriate in this case. Therefore, the Court sets

22   a status conference to be held on April 24, 2024 at 10:30 A.M. before the undersigned, via

23   Zoom. The Court declines to lift the stay and enter an amended scheduling order until after

24   completion of the status conference.

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 1          As this matter remains stayed, any motion filed with the Court during the stay may be

 2   denied as moot.

 3          V.      Conclusion

 4          For the above stated reasons, the Motion to Lift Stay (Dkt. 222) and Defendants’ Status

 5   Report (Dkt. 224) are stricken. A status conference is set for April 24, 2024 at 10:30 A.M. before

 6   the undersigned, via Zoom. This matter remains stayed.

 7          Dated this 4th day of April, 2024.

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                                                         A
                                                         David W. Christel
10                                                       United States Magistrate Judge

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